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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    TERRE HAUTE DIVISION

 THE BOPP LAW FIRM, PC,                               )
                                                      )
                                Plaintiff,            )
                                                      )
                           v.                         )        No. 2:23-cv-00120-JRS-MG
                                                      )
 TRUE THE VOTE, INC. a Texas Corporation,             )
                                                      )
                                Defendant.            )
                                                      )
                                                      )
 TRUE THE VOTE, INC. a Texas Corporation,             )
                                                      )
                                Counter Claimant,     )
                                                      )
                           v.                         )
                                                      )
 TRUE THE VOTE, INC. a Texas Corporation,             )
 THE BOPP LAW FIRM, PC an Indiana                     )
 Professional Corporation,                            )
                                                      )
                                Counter Defendants.   )

                        MINUTE ENTRY FOR AUGUST 11, 2023
                          INITIAL PRETRIAL CONFERENCE
                      HON. MARIO GARCIA, MAGISTRATE JUDGE

        The parties appeared by counsel for a Telephonic Initial Pretrial Conference. The Court

 will approve the Case Management Plan, by separate order, as submitted.

        This matter is scheduled for a telephonic status conference on Monday, November 27,

 2023 at 9:30 a.m. (Eastern) to discuss case status. Counsel shall attend the status conference

 by calling the designated telephone number, to be provided by the Court via email generated by

 the Court’s ECF system.


    Date: 8/31/2023
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Case 2:23-cv-00120-JRS-MG Document 46 Filed 08/31/23 Page 2 of 2 PageID #: 1781




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